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05 &PR 19 leon rita WESTERN DISTRICT or TENNESSEB?EJ;; ,C.FR ta F§t 11102

 

 

 

_ WESTERN DIVISION _' _
-D- OF TN. MEM'PF~¢':`
UNITED STATES OF AME CA,
Plaintiff,
vs. Cr. No.04-2004l-D
MICHAEL SANDERS,
Dcfendant.

 

MOTION TO CONT]NUE REPORT

 

COMES MICHAEL SANDERS, with this, his motion to continue report date and would

state and show the following to this Honorable Court:

l. By agreement, this matter is being brought by information before the State Criminal
Court. Once this is accomplished and Defendant pleads guilty therein. At that time the
U.S. Attomeys Oftice has agreed to dismiss the pending Federal Charges.

2. Ccunsel for the Det`endant will be arguing before the Court of Appeals Tuesday, April 19
and will be unavailable to appear for this report date.

3. Counsel is certain that the AUSA will not object to this motion
WHEREFORE, premises considered, Defendant prays for a two-week continuance so that

Counsel can report on the status of this case.

   

MOTION GRANTED

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Respectfully submitted,

a
200 Jefferson Avenue, Suite 200
Memphis, TN 38103

(901) 544-3895

     

CERTIFICATE OF SERVICE

Mr. Stephen Hall, Assistant U.S. Attorney, 167 N. Main, Suitc 800, Memphis, TN 38103, this

This is to certify that a copy of the foregoing Notice cf Appearance has been forwarde to
day of April, 2005.

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MW\ l L)~./

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-2004l Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Mary Catherine Jermann
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l\/lemphis7 TN 38103

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U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

